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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

    EDWARD BRAGGS, et al.,                           )
                                                     )
                 Plaintiffs,                         )
                                                     )     Case No. 2:14-cv-00601-MHT-JA
    v.                                               )
                                                     )   District Judge Myron H. Thompson
    JOHN HAMM, et al.,                               )
                                                     )
                 Defendants.                         )

    THE STATE’S PROPOSAL REGARDING OPERATING RESTRICTIVE
         HOUSING UNITS UNDER CURRENT STAFFING LEVELS

          Defendants John Hamm (“Commissioner Hamm”), in his official capacity as

Commissioner of the Alabama Department of Corrections (“ADOC”), and Deborah

Crook (“Deputy Commissioner Crook” and, collectively with Commissioner

Hamm, the “State”), in her official capacity as ADOC’s Deputy Commissioner,

Office of Health Services, hereby submit this filing in compliance with the Court’s

directive for the State to submit a proposal “that will allow ADOC’s RHUs—with

the exception of Tutwiler—to function safely with the correctional staff that ADOC

currently employs.”1 (Doc. 3464 at § 2.1.7.3).

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  The State submits this filing in response to the Court’s directive. (Doc. 3464 at § 2.1.7.3). In
doing so, the State expressly preserves any and all objections and all available legal and equitable
arguments in response to the Court’s Phase 2A Omnibus Remedial Opinion (Docs. 3461, 3462,
3463, 3465), Phase 2A Omnibus Remedial Order (Doc. 3464), any other Phase 2A remedial orders,
and the Court’s liability opinions and orders in this action, including without limitation, the Court’s
Liability Opinion and Order as to Phase 2A Eighth Amendment Claim (Doc. 1285) and Phase 2A
Supplemental Liability Opinion and Order on Periodic Mental-Health Evaluations of Prisoners in
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I.     THE STATE’S REQUIREMENTS UNDER § 2.1.7.3 OF THE REMEDIAL ORDER.

       The Phase 2A Omnibus Remedial Order (“Remedial Order”) requires the

State to submit a proposal to address how ADOC will provide security checks in

restrictive housing units (“RHU”), provide out-of-cell time in RHUs, and provide

access to mental-health treatment. (Doc. 3464 at § 2.1.7.3.1). Further, the Order

mandates that the proposal must ensure ADOC does not place inmates removed from

RHUs in “functionally identical units” as the RHUs.                         (Id. at § 2.1.7.3.2).

Additionally, the Order indicates that the proposal must “ensure the safety of inmates

in the RHUs who require protective custody” and explain how, if ADOC removes

inmates from RHU to reduce the number of inmates in RHU, ADOC “will manage

the dangers posed by inmates who would present a significant safety or security risk

in general population.” (Id. at § 2.1.7.3.3). Finally, the Remedial Order requires

ADOC to propose how it may modify this proposed relief if ADOC meets the

benchmarks for correctional staffing order in section 2.1.5 of the Remedial Order.

(Id. at § 2.1.7.3.4).

       In order to meet the requirements of section 2.1.7.3, the State proposes to seek

authority from State Personnel to allow non-security staff to volunteer to work



Segregation (Doc. 2332). Nothing contained in this filing shall be construed as an admission by
the State, a waiver of any objection to any opinion or order in this action, or a waiver of the State’s
pending appeal related to Phase 2A (see doc. 3488). Nothing in this filing shall be construed as
an admission of any kind by the State that ADOC’s current or historical staffing or provision of
mental-health care is or was unconstitutional or deficient in any way.


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overtime in non-contact posts and hire additional non-security staff to assume certain

non-security duties within the facilities. The proposal also includes acquiring

additional equipment to increase access to out-of-cell time.

II.    ADOC PROPOSES TO SUPPLEMENT STAFF TO INCREASE SECURITY STAFF IN
       RHUS.

       Correctional Officers (“CO”) and Basic Correctional Officers (“BCO”)

currently fill certain mandatory posts within a facility that do not require direct

contact with inmates. Further, COs and BCOs carry out additional duties outside of

manning security posts, such as disciplinary hearings, Inmate Control System

(“ICS”) duties, drug testing, and Prison Rape Elimination Act (“PREA”) compliance

manager responsibilities, that take time away from operating security posts. In an

effort to provide relief to RHUs, ADOC proposes to seek approval from the State

Personnel Department to pay overtime to non-security staff who would relieve

security officers of these non-security duties.

       ADOC, contingent upon State Personnel approval and budgetary authority,

will authorize overtime for ADOC support staff, on a voluntary basis, to fill certain

posts within a facility that do not require direct contact with inmates. ADOC will

provide training to volunteers to carry out the requirements of the non-contact posts.

This relief, if approved by State Personnel, will allow ADOC to reassign COs and

BCOs filling these mandatory non-contact posts to security posts in RHUs to

facilitate security checks, out-of-cell time, and movement of inmates to mental-

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health treatment.

       In addition to filling non-contact posts, COs and BCOs conduct disciplinary

hearings, ICS duties, and drug testing. ADOC proposes to seek approval from State

Personnel to add additional non-security staff to facilities to take over these

responsibilities.   Specifically, the State proposes to seek authority from State

Personnel to hire disciplinary hearing officers to conduct inmate disciplinary

hearings. This will further relieve security staff of these non-security related

responsibilities and allow security staff to apply their time to operating security posts

in the facilities. Upon approval, ADOC intends to prioritize these plans to fill

security posts in RHUs.

       Additionally, security staff at ADOC facilities serve as the Institutional PREA

Compliance Managers. These positions hold the responsibility of coordinating the

facility’s efforts to comply with the federal requirements of the Prison Rape

Elimination Act. (34 U.S.C. 303). In order to relieve security staff of this function,

ADOC’s Inspector General (“IG”) initiated plans to hire non-security PREA

Compliance Managers. Upon approval by State Personnel and sufficient budgetary

authority, ADOC retain non-security PREA Compliance Manages and redeploy the

certified security staff currently serving in these positions to critical posts within the

facilities.

       Finally, ADOC proposes to initiate a study of the deployment of all security



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staff for all shifts over a thirty (30) day period at all major facilities. The purpose of

the study would include identification of efficiencies in the allocation of security

staff within the facilities.

        The above proposal remains contingent upon sufficient budgetary authority

and approval from State Personnel.

III.    ADOC PROPOSES TO PROVIDE ADDITIONAL EQUIPMENT                     TO   INCREASE
        OUT-OF-CELL TIME IN RHUS.

        ADOC proposes to provide additional equipment to RHUs to facilitate

inmates receiving out-of-cell time. The equipment includes secure activity desks

that allows ADOC to place inmates in open areas to conduct dayroom activities. The

addition of more secure activity desks offer the opportunity to provide more inmates

out-of-cell time in RHUs.



        Dated: June 1, 2022.


                                         /s/ Kenneth S. Steely
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                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been served upon all attorneys
of record in this matter, including without limitation the following, by the Court’s
CM/ECF system on this 1st day of June, 2022.

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